The court incorporates by reference in this paragraph and adopts as the findings and orders
of this court the document set forth below. This document was signed electronically at the
time and date indicated, which may be materially different from its entry on the record.




       Dated: 01:33 PM September 20, 2017




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF OHIO

IN RE:                                                :       CHAPTER 13 PROCEEDING

GARETT W. EACKELBARY                                  :       CASE NO. : 17-61538

                                                      :       JUDGE RUSS KENDIG

DEBTOR(S)                                             :       ORDER TO DISMISS WITH
                                                              PREJUDICE

************ ****************************************

       This matter came before the Court on the Chapter 13 Trustee’s Motion to Dismiss with

Prejudice.



       The Trustee submits that the Debtor has waived the timely opportunity to object,

         request a hearing, or otherwise contest the dismissal.



       Based upon the evidence presented, the Court finds the Motion should be GRANTED.




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       THEREFORE, IT IS THE ORDER OF THIS COURT that the Chapter 13 case of the

Debtor is DISMISSED WITH PREJUDICE and that the debtor is enjoined from filing another

case in bankruptcy for one hundred eighty (180) days without leave of the Court.



Signed under the pains and penalty of perjury.


/s/ Toby L. Rosen
Toby L. Rosen, Trustee

                                                 ###

Ist of parties to be served the above order:

GARETT W. EACKELBARY
1213 PEONY ST. NW
HARTVILLE, OH 44632

CHARLES W. FONDA
75 PUBLIC SQUARE
#650
CLEVELAND, OH 44113

U.S. Trustee




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